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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                       8:15CR64

        vs.
                                                                          ORDER
JOSEPH HARRAL,

                        Defendant.

       Defendant Joseph Harral appeared before the court on June 14, 2018 on a Second Amended
Petition for Offender Under Supervision [125]. The defendant was represented by Assistant
Federal Public Defender Karen M. Shanahan, and the United States was represented by Assistant
U.S. Attorney Kimberly C. Bunjer. Through his counsel, the defendant waived his right to a
probable cause hearing on the Second Amended Petition for Offender Under Supervision [125]
pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. Through counsel,
the defendant declined to present any evidence on the issue of detention and otherwise waived a
detention hearing. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear
and convincing evidence that he is neither a danger to the community nor a flight risk, the court
finds the defendant has failed to carry his burden and that he should be detained pending a
dispositional hearing before Senior Judge Bataillon.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Bataillon in
Courtroom No. 3, Third Floor, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on August 7, 2018 at 1:00 p.m. The defendant must be present in person.
       2       The defendant, Joseph Harral, is committed to the custody of the Attorney General
or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver the defendant to the
United States Marshal for the purpose of an appearance in connection with a court proceeding.
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     Dated this 15th day of June, 2018.

                                               BY THE COURT:


                                               s/ Susan M. Bazis
                                               United States Magistrate Judge
